Case 2:24-cv-00012-TSK   Document 22    Filed 03/03/25   Page 1 of 13 PageID #: 185



                  IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


  MOUNTAIN VALLEY PIPELINE, LLC,

        Plaintiff,

  v.                                       CIVIL ACTION NO. 2:24-CV-12
                                                          (KLEEH)

  JEROME JAMES WAGNER,

        Defendant.


    MEMORANDUM OPINION AND ORDER DENYING IN PART AND GRANTING IN
           PART DEFENDANT’S MOTION TO DISMISS [ECF NO. 6]
       Pending before the court is the Defendant’s motion to dismiss

 the Plaintiff’s Complaint pursuant to Federal Rules of Civil

 Procedure 12(b)(2), 12(b)(5), and 12(b)(6) [ECF No. 6]. For the

 reasons that follow, Defendant’s Motion to Dismiss [ECF No.6] is

 DENIED IN PART and GRANTED IN PART.

                           I.     PROCEDURAL HISTORY
       On April 30, 2024, Plaintiff Mountain Valley Pipeline, LLC

 (“Plaintiff”    or   “MVP”)    filed   its    Complaint   against      Defendant

 Jerome James Wagner (“Defendant” or “Wagner”) in the Circuit Court

 of Monongalia County, West Virginia. Compl., ECF No. 1-1. Defendant

 removed this action to this Court on June 17, 2024. ECF No. 1. The

 Complaint   alleges     (1)   Trespass;      (2)   Injunction;   (3)    Tortious

 Interference; (4) Violation of W.Va. Code § 61-10-34; (5) Civil

 Conspiracy; and (6) Punitive Damages. Compl., ECF No. 1-1.
Case 2:24-cv-00012-TSK     Document 22         Filed 03/03/25    Page 2 of 13 PageID #: 186



       On July 1, 2024, Defendant Wagner moved to dismiss Plaintiff’s

 Complaint pursuant to Federal Rules of Civil Procedure 12(b)(2),

 12(b)(5),     and    12(b)(6).      ECF       No.   6.   Plaintiff       responded    in

 opposition on July 16, 2024 [ECF No. 8-2], and Defendant replied

 in support of his Motion on July 23, 2024 [ECF No. 14]. In his

 reply, Defendant conceded that his grounds pursuant to Federal

 Rules of Civil Procedure 12(b)(2) and 12(b)(5) are moot. ECF No.

 14. The Motion to Dismiss [ECF No. 6] is thus fully briefed and

 ripe for review.

                             II.     FACTUAL ALLEGATIONS 1
       MVP is a natural gas company holding a certificate from the

 Federal Energy Regulatory Commission (“FERC”) to construct and

 operate   a   new    natural      gas    pipeline     from      Wetzel   County,   West

 Virginia to Pittsylvania County, Virginia (the “Project”). Compl.

 ECF No. 1-1, at ¶ 1. MVP acquired temporary and permanent easements

 to   construct      and   operate       the   pipeline     on    the   land   at   issue

 (“Subject Property”). Id. at ¶ 8.

       On November 2, 2023, Wagner entered onto the Subject Property

 and “attached himself by a mechanical device to equipment being

 used on the Subject Project.” Id. at ¶ 10. Wagner “was aided and

 abetted by approximately eight individuals, and possibly others,

 who illegally trespassed and tampered with equipment being used on



 1    For purposes of analyzing the motion to dismiss, the Court
 assumes that Plaintiff’s asserted facts are true.
                                               2
Case 2:24-cv-00012-TSK   Document 22   Filed 03/03/25   Page 3 of 13 PageID #: 187



 the Subject Project and otherwise created a diversion to assist

 Defendant in illegally entering upon the property and attaching

 himself to the equipment.” Id. at ¶ 14. Wagner’s actions caused

 the Project to shut down for approximately four hours, preventing

 MVP from conducting work on the Project. Id. at ¶ 15. The shutdown

 caused MVP to incur costs for the delay, the idling of equipment

 and personnel, and otherwise caused damage to MVP. Id.

                             III. Legal Standard
       Rule 12(b)(6) of the Federal Rules of Civil Procedure allows

 a defendant to move for dismissal upon the grounds that a complaint

 does not “state a claim upon which relief can be granted.” In

 ruling on a motion to dismiss, a court “must accept as true all of

 the factual allegations contained in the Complaint.” Anderson v.

 Sara Lee Corp., 508 F.3d 181, 188 (4th Cir. 2007) (quoting Erickson

 v. Pardus, 551 U.S. 89, 94 (2007)). A court is “not bound to accept

 as true a legal conclusion couched as a factual allegation.”

 Papasan v. Allain, 478 U.S. 265, 286 (1986).

       A motion to dismiss under Rule 12(b)(6) tests the “legal

 sufficiency of a Complaint.” Francis v. Giacomelli, 588 F.3d 186,

 192 (4th Cir. 2009). A court should dismiss a complaint if it does

 not contain “enough facts to state a claim to relief that is

 plausible on its face.” Bell Atlantic Corp. v. Twombly, 550 U.S.

 544, 570 (2007). Plausibility exists “when the plaintiff pleads

 factual content that allows the court to draw the reasonable

                                       3
Case 2:24-cv-00012-TSK    Document 22    Filed 03/03/25    Page 4 of 13 PageID #: 188



 inference that the defendant is liable for the misconduct alleged.”

 Ashcroft   v.   Iqbal,     556   U.S.    662,   678      (2009).   The   factual

 allegations “must be enough to raise a right to relief above a

 speculative level.” Twombly, 550 U.S. at 545. The facts must

 constitute more than “a formulaic recitation of the elements of a

 cause of action.” Id. at 555. A motion to dismiss “does not resolve

 contests surrounding the facts, the merits of a claim, or the

 applicability of defenses.” Republican Party of N.C. v. Martin,

 980 F.2d 942, 952 (4th Cir. 1992).

                                  IV.    DISCUSSION
       For the following reasons, Defendant’s Motion to Dismiss [ECF

 No. 6] is DENIED as to Plaintiff’s claims for trespass (Count 1)

 and tortious interference (Count 3). Defendant’s Motion to Dismiss

 [ECF No. 6] is GRANTED as to Plaintiff’s claims for injunctive

 relief (Count 2), violation of W.Va. Code § 61-10-34 (Count 4),

 civil conspiracy (Count 5), and punitive damages (Count 6).

    A. Count One – Trespass
       Defendant’s Motion to Dismiss as to Count One is DENIED

 because Plaintiff’s Complaint sufficiently alleges damage in the

 form of interference with its possession to the Subject Property.

 West Virginia law controls the substantive law for trespass. See

 Erie R. Co. v. Tompkins, 304 U.S. 64, 78 (1938). Traditionally,

 damages were presumed from an intentional trespass to land. See

 Alpine Forrest Partners v. Crown Cent. Petroleum Corp., 134 F.3d


                                         4
Case 2:24-cv-00012-TSK   Document 22   Filed 03/03/25   Page 5 of 13 PageID #: 189



 362, 1998 WL 45449 (4th Cir. 1998). However, under West Virginia

 law, damages are not presumed; trespass is “an entry on another

 man's ground without lawful authority, and doing some damage,

 however inconsiderable, to his real property.” Hark v. Mountain

 Fork Lumber Co., 34 S.E.2d 348, 352 (W. Va. 1945); see Rhodes v.

 E.I. du Pont de Nemours & Co., 636 F.3d 88, 96 (4th Cir. 2011)

 (“the defendant's conduct must result in an actual, nonconsensual

 invasion of the plaintiff's property, which interferes with the

 plaintiff's possession and use of that property.”). The Fourth

 Circuit has cited Hark and held that trespass is an “unauthorized

 entry onto the land of another and doing damage to or interfering

 with his use of his real property.” Rhodes, 636 F.3d at 94

 (granting summary judgment in favor of the defendants because

 plaintiffs failed to produce evidence showing physical damage or

 interference    with    possession    and   use   of   the   property).    See

 Ghafourifar v. Cmty. Tr. Bank, Inc., No. 3:14-CV-01501, 2014 WL

 4809794, at *8 (S.D.W. Va. Sept. 26, 2014) (dismissing a claim for

 trespass because Plaintiff did “not allege that the entry onto his

 land caused any harm to him, his land, or his use of his land”).

 “In both residential and nonresidential cases, a plaintiff may

 seek damages for loss of use, which in the case of nonresidential

 property may include lost profits or lost rental value.” Moore v.

 Equitrans, L.P., 27 F.4th 211, 220 (4th Cir. 2022).



                                       5
Case 2:24-cv-00012-TSK    Document 22       Filed 03/03/25     Page 6 of 13 PageID #: 190



        Here,    Defendant      first    argues   that    Plaintiff’s      claim     for

 trespass must be dismissed because MVP lacks a possessory interest

 in the Subject Property. Defendant argues that the nonpossessory

 interest created by easements does not permit Plaintiff to bring

 an action for trespass. Mem. of Law in Supp. of Def.’s Mot. to

 Dismiss, ECF No. 8-1, at 9-10. Secondly, Defendant argues that

 regardless of possession, Plaintiff has failed to allege any damage

 to   real    property.    Defendant       concedes      that    lost   profits      are

 recoverable as a remedy in a trespass action but argues that the

 element of damage required by a trespass claim is still not met in

 the Complaint.

        In contrast, Plaintiff asserts that MVP has actual possession

 of the Subject property and control of the property pursuant to

 valid rights-of-way agreements and easements. Pl.’s Resp. in Opp’n

 to Def.’s Mot. to Dismiss, ECF No. 8-2, at 7. Plaintiff also argues

 that   MVP     has   pleaded    facts    sufficient      to    establish     that    it

 sustained damages because of Defendant’s actions.

        “An easement may be defined as the right one person has to

 use the lands of another for a specific purpose and is a distinct

 estate from the ownership of the soil itself.” Newman v. Michel,

 688 S.E.2d 610, 615 (W. Va. 2009) (quoting Kelly v. Rainelle Coal

 Co., 64 S.E.2d 606, 613 (W. Va. 1951), overruled in part on other

 grounds by Kimball v. Walden, 301 S.E.2d 210 (W. Va. 1983)).

 Further, “[e]ither actual or constructive possession is sufficient

                                           6
Case 2:24-cv-00012-TSK   Document 22    Filed 03/03/25   Page 7 of 13 PageID #: 191



 to maintain an action of trespass.” Pan Coal Co. v. Garland

 Pocahontas Coal Co., 125 S.E. 226, 226 (W. Va. 1924).

       Here, the Court finds that Plaintiff’s claim for trespass is

 adequately   pleaded.    Assuming     at   this   stage   of     the   case   that

 Plaintiff’s rights-of-ways and easements are valid, Plaintiff’s

 claim properly alleges that Defendant’s actions constituted an

 interference with MVP’s possession and use of the Subject Property

 for the purpose of the Project. As such, the Court DENIES the

 motion to dismiss with respect to Count One.

    B. Count Two – Injunction
       Defendant’s Motion to Dismiss as to Count Two is GRANTED. “A

 request for injunctive relief does not constitute an independent

 cause of action; rather, the injunction is merely the remedy sought

 for the legal wrongs alleged in the ... substantive counts.”

 Standiford v. Rodriguez-Hernandez, No. 5:10CV24, 2010 WL 3670721,

 at *3 (N.D.W. Va. Sept. 15, 2010) (quoting Pinnacle Min. Co., LLC

 v. Bluestone Coal Corp., 624 F.Supp.2d 530, 539–40 (S.D.W. Va.

 2009)).

       The Court finds that the claim for injunctive relief must be

 dismissed.    Because   Plaintiff     is   prohibited     from    asserting     an

 independent claim for injunctive relief, the Court GRANTS the




                                        7
Case 2:24-cv-00012-TSK   Document 22    Filed 03/03/25   Page 8 of 13 PageID #: 192



 motion with respect to Count Two and dismisses it as a matter of

 law. 2

     C. Count Three – Tortious Interference
          Defendant’s Motion to Dismiss is DENIED as to Plaintiff’s

 claim for tortious interference because the Complaint adequately

 alleges an intentional interference with a contractual or business

 relationship or expectancy as a result of Defendant’s actions. The

 Supreme Court of Appeals of West Virginia has held that “[t]o

 establish prima facie proof of tortious interference, a plaintiff

 must show: (1) existence of a contractual or business relationship

 or expectancy; (2) an intentional act of interference by a party

 outside     that   relationship   or   expectancy;      (3)   proof   that   the

 interference caused the harm sustained; and (4) damages.” Syl. Pt.

 2, Torbett v. Wheeling Dollar Sav. & Trust Co., 314 S.E.2d 166 (W.

 Va. 1983).

          Defendant argues Plaintiff fails to state a claim for relief

 because the claim relies upon unspecified contractual obligations

 with unspecified third parties. Reply in Supp. Of Def.’s Mot. To

 Dismiss, ECF No. 14, at 5. Defendant argues that Plaintiff did not

 plead      sufficient   supporting     facts    –   namely     regarding     the




 2    The Court notes that Plaintiff is not prohibited from pursuing
 injunctive relief as an additional potential remedy for the pleaded
 intentional tort claims. The Court does not address the merits of
 preliminary injunctive relief, but the Parties may present such a
 motion to the Court.
                                        8
Case 2:24-cv-00012-TSK       Document 22     Filed 03/03/25   Page 9 of 13 PageID #: 193



 allegation that any contract or relationship with any third party

 was affected by the delay.

          In   contrast,    Plaintiff’s      Complaint     describes    its   ongoing

 operations to construct a pipeline and states that “MVP has a

 contractual and business expectancy for the construction of the

 Project.” Compl., ECF No. 1-1, at ¶ 32. Plaintiff maintains that

 Defendant’s actions delayed the project and caused interference

 with     the   contractual     and    business      expectancy    created    by   the

 Project.

          Here, the Court finds that Plaintiff’s claim for tortious

 interference        is     adequately     pleaded.       Plaintiff    alleges     the

 essential elements, and the Complaint also contains sufficient

 factual allegations to elevate the prospect of recovery on this

 claim to plausible. Specifically, Plaintiff alleges the existence

 of   a    business       expectancy   and       relationships    relating    to   the

 construction and completion of the Project. Pursuant to a F.E.R.C.

 “Certificate and/or Order,” the Fiscal Responsibility Act of 2023,

 and “subsequent federal regulatory and administrative orders,” MVP

 is authorized for the construction of the Project. Compl., ECF No.

 1-1, at ¶¶ 6-7. The Complaint references the Project’s contractors,

 MVP’s “legal right pursuant to the authorization of FERC” and “the

 time allowed by FERC” for construction of the Project, stating

 there     is   a   “particular    importance        in   [the   Project’s]    speedy

 completion.” Id. at ¶¶ 23-25. Defendant is not alleged to have

                                             9
Case 2:24-cv-00012-TSK      Document 22      Filed 03/03/25    Page 10 of 13 PageID #: 194



 been    part    of   any       business     expectancy       or   relationships    but

 nonetheless      “interfered         with   MVP’s   ability       to   construct   the

 Project.”      Id.   at    ¶   33.   The    Complaint    asserts       that   Defendant

 interfered with MVP’s business relationships and expectancy by

 causing shutdown of the project, idling of equipment and personnel,

 and otherwise preventing construction. Id. at ¶¶ 11, 15. Assuming

 at this stage that Plaintiff’s allegations are true, Plaintiff's

 claim is plausibly stated, and Defendant's motion must be denied.

 As such, the Court DENIES the motion to dismiss with respect to

 Count Three.

    D. Count Four – Violation of W.Va. Code § 61-10-34
        Defendant’s Motion to Dismiss is GRANTED as to Plaintiff’s

 claim for a violation of W. Va. Code § 61-10-34. The Critical

 Infrastructure Act is a criminal trespass statute that provides

 that “[a]ny person who is arrested for or convicted of an offense

 under this section may be held civilly liable for any damages to

 personal or real property while trespassing, in addition to the

 penalties imposed by this section.” W.Va. Code § 61-10-34(d)(1).

        Plaintiff argues that common law trespass damages, including

 loss of use and lost profits, are recoverable under this statute.

 Defendant argues that the statutory language does not expand beyond

 physical damage to personal or real property.

        The Court finds that Plaintiff has failed to sufficiently

 plead that Defendant’s actions resulted in any damage to real or

                                             10
Case 2:24-cv-00012-TSK   Document 22   Filed 03/03/25   Page 11 of 13 PageID #: 195



 personal property. Rather, Plaintiff’s pleaded damages are limited

 to economic damages, which are not recoverable under the statute.

 As such, the Court GRANTS the motion to dismiss with respect to

 Count Four and dismisses it as a matter of law.

    E. Count Five – Civil Conspiracy
       Defendant’s Motion to Dismiss is GRANTED as to Plaintiff’s

 claim for civil conspiracy. Under West Virginia law, “[a] civil

 conspiracy is not a per se, stand-alone cause of action; it is

 instead a legal doctrine under which liability for a tort may be

 imposed upon people who did not actually commit a tort themselves

 but who shared a common plan for its commission with the actual

 perpetrator(s).” Syl. Pt. 9, Dunn v. Rockwell, 689 S.E.2d 255 (W.

 Va. 2009). Civil conspiracy is:

             a combination of two or more persons by
             concerted action to accomplish an unlawful
             purpose or to accomplish some purpose, not in
             itself unlawful, by unlawful means. The cause
             of action is not created by the conspiracy but
             by the wrongful acts done by the defendants to
             the injury of the plaintiff.
 Id. at Syl. Pt. 8. Here, the Court finds that the civil conspiracy

 claim fails as a matter of law. Plaintiff does not name any parties

 who shared a common plan for the commission of a tort, but who did

 not actually commit a tort themselves. Rather, Plaintiff names

 Defendant as the actual perpetrator of the torts alleged and only

 states that the “Defendant was aided and abetted by approximately

 eight individuals, and possibly others.” Compl., ECF No. 1-1, ¶


                                       11
Case 2:24-cv-00012-TSK   Document 22   Filed 03/03/25   Page 12 of 13 PageID #: 196



 14. Plaintiff does not bring any causes of action against the

 unnamed individuals who are alleged to have aided and abetted

 Defendant in his tortious conduct, nor does Plaintiff allege that

 Defendant assisted others in tortious conduct. Therefore, the

 Court finds that the elements of a civil conspiracy claim are not

 adequately pleaded. As such, the Court GRANTS the motion to dismiss

 with respect to Count Five and dismisses it as a matter of law.

    F. Count Six – Punitive Damages
       Defendant’s Motion to Dismiss is GRANTED as to the independent

 claim for punitive damages. Plaintiff’s claim for punitive damages

 fails as a matter of law because “under West Virginia law, a

 separate cause of action for punitive damages does not exist.”

 Slampak v. Nationwide Ins. Co. of Am., 2019 WL 3304814, at *4

 (N.D.W. Va. July 23, 2019). See Cook v. Heck's Inc., 342 S.E.2d

 453, 461 n.3 (W. Va. 1986); Miller v. Carelink Health Plans, Inc.,

 82 F. Supp. 2d 574, 579 n.6 (W. Va. 2000) (“West Virginia law does

 not   recognize    an   independent    cause    of     action   for   punitive

 damages.”). A “claim for punitive damages also fails because

 punitive damages are a form of relief rather than an independent

 claim.” Kerns v. Range Res.-Appalachia, LLC, 2011 WL 197908, at *7

 (N.D.W. Va. Jan. 18, 2011). Because Plaintiff is prohibited from

 asserting an independent claim for punitive damages under West




                                       12
Case 2:24-cv-00012-TSK   Document 22     Filed 03/03/25    Page 13 of 13 PageID #: 197



 Virginia law, Defendant’s Motion as it pertains to Count Six is

 GRANTED and is dismissed as a matter of law. 3

                                  V.     CONCLUSION
       For    the    reasons      discussed    herein,         the   Court     DENIES

 Defendant’s Motion to Dismiss [ECF No. 6] as to Plaintiff’s claims

 for   trespass     (Count   1)   and   tortious    interference        (Count      3).

 Defendant’s    Motion   to    Dismiss    [ECF   No.      6]   is    GRANTED   as    to

 Plaintiff’s claims for injunctive relief (Count 2), violation of

 W.Va. Code § 61-10-34 (Count 4), civil conspiracy (Count 5), and

 punitive damages (Count 6). Thus, the only remaining claims in

 this matter are trespass and tortious interference.

       It is so ORDERED.

       The Clerk is directed to transmit copies of this Memorandum

 Opinion and Order to counsel of record.

       DATED: March 3, 2025


                                        ____________________________
                                        THOMAS S. KLEEH, CHIEF JUDGE
                                        NORTHERN DISTRICT OF WEST VIRGINIA




 3    The Court notes that Plaintiff is not prohibited from pursuing
 punitive damages as an additional potential remedy for the pleaded
 intentional tort claims.
                                         13
